DocuSign Envelope ID: 0ED8684E-40FF-4031-93FA-5B35D86AB485
                     Case 1:21-mi-55555-JPB Document 535-12 Filed 04/24/23 Page 1 of 5




                                         IN THE UNITED STATES DISTRICT COURT
                                        FOR THE NORTHERN DISTRICT OF GEORGIA
                                                   ATLANTA DIVISION

                                                                              Master Case No.
                  IN RE GEORGIA SENATE BILL 202
                                                                              1:21-MI-55555-JPB

                  SIXTH DISTRICT OF THE AFRICAN METHODIST
                  EPISCOPAL CHURCH, et al.,

                                            Plaintiffs,

                                            v.
                                                                              Civil Action No.
                  BRIAN KEMP, Governor of the State of Georgia, in
                                                                              1:21-CV-1284-JPB
                  his official capacity, et al.,

                                            Defendants,

                  REPUBLICAN NATIONAL COMMITTEE, et al.,

                                            Intervenor-Defendants.



                                         DECLARATION OF SHAFINA KHABANI
                                             (pursuant to 28 U.S.C. § 1746)

                     My name is Shafina Khabani. I am over the age of 21 and fully competent to make this

            declaration. Under penalty of perjury, I declare the following based upon my personal knowledge:

                     1.      I currently live in Atlanta in DeKalb County, Georgia. I have been registered to

            vote in DeKalb County for 11 years.

                     2.      I am 39 years old and identify as South Asian.

                     3.      I am the Executive Director for the Georgia Muslim Voter Project (“GAMVP”). I

            started with GAMVP in 2020.

                     4.      GAMVP’s staff members have participated in handing out food, water, and other


                                                               1
DocuSign Envelope ID: 0ED8684E-40FF-4031-93FA-5B35D86AB485
                     Case 1:21-mi-55555-JPB Document 535-12 Filed 04/24/23 Page 2 of 5




            provisions to voters waiting in line at the polls (“line relief”), including in the November 2020

            general election. For instance, GAMVP’s Field Organizer, Ayesha Abid, has participated in line

            relief activities at the following polling locations: Gas South Arena (formerly the Gwinnett Infinite

            Energy Arena), Lawrenceville City Hall, and the Gwinnett County Elections Office.

                     5.      In the 2020 general election, GAMVP partnered with Asian Americans Advancing

            Justice-Atlanta to conduct line relief activities. Our staff members set up a table and took turns

            bringing food and water from the table to voters waiting in line within 150 feet of the polling place.

            If the line extended beyond 150 feet of the building, we would also take turns bringing food and

            water from the table those voters waiting in line. This work necessarily involved approaching

            voters within 25 feet of the voting line.

                     6.      GAMVP participates in line relief activities because we want to empower our

            communities to vote and break down any barriers that may prevent them from doing so, including

            long lines. The issue of long lines at poll sites has been a widely publicized issue over multiple

            elections in Georgia, especially in communities that are predominantly people of color. Ahead of

            the 2020 presidential election, voters waited for hours in the midst of a pandemic, to cast their

            ballots at early voting and election day poll sites across the state. A huge turnout in 2020—coupled

            with fewer poll workers because of the impact of COVID—resulted in with long lines. I have

            spoken to voters who have had negative experiences at polling places, including long lines, and

            that has affected whether or not they turn out to cast their ballots. Letting organizations, such as

            GAMVP, provide provisions to voters allows us to make the process less burdensome to our

            communities who want to exercise their right but are intimidated by barriers such as long lines.

                     7.      Our organization’s message when we participate in line relief activities is to also



                                                              2
DocuSign Envelope ID: 0ED8684E-40FF-4031-93FA-5B35D86AB485
                     Case 1:21-mi-55555-JPB Document 535-12 Filed 04/24/23 Page 3 of 5




            provide a sense of safety and comfort to Muslim communities who already face so much

            discrimination in their day to day lives.

                     8.      When GAMVP staff participate in line relief, another message we send to voters is

            that exercising your right to vote doesn’t have to feel burdensome and it can be an enjoyable

            experience. There are places in Georgia with atrocious lines where people wait in line for two and

            a half hours or more. These are the stories we hear at GAMVP all the time, and from people who

            have been voting for 30 or 40 years. These people know organizations like GAMVP are trying to

            help them stay hydrated so that they can vote without medical emergencies. They know who we

            are and rely on us. I know this because they are always coming up to thank our staff members who

            are providing line relief. By providing line relief, we show those voters that there are organizations

            out there that see them in these horrible lines and care that they are having to wait for such a long

            time. We see them suffering in the Georgia heat and humidity and we try to comfort them and

            make sure they are still going to vote. When we participate in line relief, we are telling voters that

            90-degree weather doesn’t have to stop them from voting and we reinforce this message by being

            out there with igloo coolers giving voters ice cold water.

                     9.      The message GAMVP sends to voters waiting in line is the same regardless of

            whether GAMVP is approaching voters waiting in lines within 150 feet of the polling place or

            voters waiting in lines that extend beyond 150 feet of the polling place.

                     10.     GAMVP wants voting to be accessible to everyone who is eligible to vote. By

            participating in line relief efforts, GAMVP staff members show voters that GAMVP is dedicated

            to making voting accessible to everyone who is eligible to vote.

                     11.     The line relief ban makes food and water less accessible for voters waiting in line.



                                                              3
DocuSign Envelope ID: 0ED8684E-40FF-4031-93FA-5B35D86AB485
                     Case 1:21-mi-55555-JPB Document 535-12 Filed 04/24/23 Page 4 of 5




            These are items that people have relied upon to make voting accessible to them.

                     12.     GAMVP is a nonpartisan organization. When any GAMVP staff member, including

            myself, participates in line relief activities, we never bring partisanship into our work. We never

            share any partisan messages. We go through an election protection training that specifically tells

            us we are prohibited from bringing partisanship not our line relief efforts.

                     13.     GAMVP has never received any complaints about our participation in line relief

            activities from staff members, volunteers, voters, poll workers, or anyone else.

                     14.     Because of SB 202, GAMVP is no longer going to be doing any line relief activities

            at all because we don’t want to risk being arrested. GAMVP is a small, but growing organization.

            In the past, GAMVP had partnered with other organizations to conduct line relief activities. In the

            spring of 2021, GAMVP was just beginning to plan an independent line relief program, inspired

            by Souls to the Polls and other historical voter support efforts. We had been in contact various

            Dunkin’ Donut shops and chai vendors so we can give out chai or cider and other foods that

            represent our community to voters waiting in line during the next election. This would have been

            part of our efforts to support and recognize the Muslim community, specifically, in their civic

            participation. But after SB 202 was passed, we had to abruptly stop working on that new program.

            We wasted a lot of staff time on that shuttered program.

                     15.     GAMVP would like and would be able to resume at least some of its line relief

            activities even if the line relief ban were lifted only as to activities within 25 feet of voting lines

            that extend beyond 150 feet of the polling place.




                                                              4
DocuSign Envelope ID: 0ED8684E-40FF-4031-93FA-5B35D86AB485
                     Case 1:21-mi-55555-JPB Document 535-12 Filed 04/24/23 Page 5 of 5




                             I declare under penalty of perjury that the foregoing is true and correct.

                             Executed on ________________
                                            4/13/2023


                             __________________________________________
                                   SHAFINA KHABANI




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